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     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11
                            UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,              Case No. SA 19-131M
14
                      Plaintiff,            GOVERNMENT'S NOTICE OF REQUEST
15                                          FOR DETENTION
                      v.
16
     STEPHEN WILLIAM BEAL,
17
                      Defendant.
18

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20
          Plaintiff, United States of America, by and through its
21
     counsel of record, hereby requests detention of defendant and gives
22
     notice of the following material factors:
23
           1.   Temporary 10-day Detention Requested (~ 3142(d)) on the
24
                following grounds:
25
                  a. present offense committed while defendant was on
26
                      release pending (felony trial), (sentencing),
27
                      (appeal), or on (probation) (parole); or
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 1                  b. defendant is an alien not lawfully admitted for

 2                      permanent residence; and

 3                  c. defendant may flee; or

 4                  d. pose a danger to another or the community.

 5      X     2. Pretrial Detention Requested (~ 3142(e)) because no

 6                condition or combination of conditions will reasonabl

 7                assure:

 8            X     a. the appearance of the defendant as required;

 9            X     b. safety of any other person and the community.

10            3. Detention Requested Pending Supervised Release/Probation

11                Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18

12                U.S.C. § 3143(a)):

13                 a.   defendant cannot establish by clear and convincing

14                      evidence that he/she will not pose a danger to any

15                      other person or to the community;

16                  b. defendant cannot establish by clear and convincing

17                      evidence that he/she will not flee.

18            4. Presumptions Applicable to Pretrial Detention (18 U.S.C.

19

20                  a. Title 21 or Maritime Drug Law Enforcement Act

21                      ("MDLEA") (46 U.S.C. App. 1901 et seq.) offense with

22 ',                   10-year or greater maximum penalty (presumption of

23                      danger to community and flight risk);

24                  b. offense under 18 U.S.C. §~ 924(c), 956(a), 2332b, or

25                      2332b(g)(5)(B) with 10-year or greater maximum

26                      penalty (presumption of danger to community and

27                      flight risk);

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 1                  c. offense involving a minor victim under 18 U.S.C.

 2                      ~ ~ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

 3 '~                  2251A, 2252(a)(1) - (a)(3), 2252A(a)(1) -2252A(a)(4),

 4                     2260, 2421, 2422, 2423 or 2425 (presumption of

 5                     danger to community and flight risk);

 6                  d. defendant currently charged with an offense

 7                     described in paragraph 5a - 5e below, AND defendant

 8                     was previously convicted of an offense described in

 9                     paragraph 5a - 5e below (whether Federal or

10                     State/local), AND that previous offense was

11                     committed while defendant was on release pending

12                     trial, AND the current offense was committed within

13                     five years of conviction or release from prison on

14                     the above-described previous conviction (presumption

15                     of danger to community).

16      X     5. Government Is Entitled to Detention Hearing Under

17                ~ 3142(f) If the Case Involves:

18            X     a. a crime of violence (as defined in 18 U.S.C.

19                     ~ 3156(a)(4)) or Federal crime of terrorism (as

20                     defined in 18 U.S.C. ~ 2332b(g)(5)(B)) for which

21                     maximum sentence is 10 years' imprisonment or more;

22            X     b. an offense for which maximum sentence is life

23                     imprisonment or death;

24                  c. Title 21 or MDLEA offense for which maximum sentence

25                     is 10 years' imprisonment or more;

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 1                    d. any felony if defendant has two or more convictions

 2                       for a crime set forth in a-c above or for an offense

 3                       under state or local law that would qualify under a,

 4                       b, or c if federal jurisdiction were present, or a

 5                       combination or such offenses;

 6             X      e. any felony not otherwise a crime of violence that

 7                       involves a minor victim or the possession or use of

 8                       a firearm or destructive device (as defined in 18

 9                       U.S.C. § 921), or any other dangerous weapon, or

10                       involves a failure to register under 18 U.S.C.

11                       ~ 2250;

12              X     f. serious risk defendant will flee;

13                    g. serious risk defendant will (obstruct or attempt to

14                       obstruct justice) or (threaten, injure, or

15                       intimidate prospective witness or juror, or attempt

16                       to do so).

17              6. Government requests continuance of               days for

18                  detention hearing under ~ 3142(f) and based upon the

19                  following reason(s):

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 1         7. Good cause for continuance in excess of three days exists

 2             in that:

 3

 4

 5

 6

 7

 8 ( Dated: March 4, 2019               Respectfully submitted,

 9                                      NICOLA T. HANNA
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10
                                        PATRICK R. FITZGERALD
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13                                        0~,~~~~
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14                                      ANNAMARTINE SALICK
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15
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16                                      UNITED STATES OF AMERICA

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